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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION



  MELANIE E. DAMIAN, as Receiver for On
  Point Global LLC, et. al.,                     Case. No. 1:22-cv-22606-JLK

                      Plaintiff,

              - against -

  HOLLY MELTON, BAKER & HOSTETLER
  LLP, and CROWELL & MORING LLP,

                      Defendants.



      DEFENDANT HOLLY MELTON’S MOTION TO DISMISS AND TO STRIKE
              AND INCORPORATED MEMORANDUM OF LAW

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          Defendant Holly Melton, pursuant to Federal Rules of Civil Procedure 12(b)(1), 12(b)(2)

  and 12(f), moves to dismiss the claims against her in the First Amended Complaint (“FAC”), and

  to strike the Plaintiff’s requests for attorneys’ fees and costs.

                                   PRELIMINARY STATEMENT

          This is a legal malpractice action brought by the court-appointed receiver (the

  “Receiver”) of On Point Global LLC and its affiliates (“On Point”), a group of defunct web-

  based businesses previously found liable for deceiving thousands of consumers through a host of

  misleading websites. The FAC is the Receiver’s second attempt to plead claims to recover an as-

  yet unknown amount of damages from On Point’s former lawyers, Defendants Crowell &

  Moring LLP (“Crowell”), Baker & Hostetler LLP (“Baker”), and attorney Holly Melton.

          The Receiver’s purported claims principally arise from a 2019 enforcement action

  brought by the Federal Trade Commission (the “FTC”) against On Point, wherein the FTC

  alleged that On Point violated Section 5(a) of the FTC Act, 15 U.S.C. § 45, by misrepresenting to

  consumers that certain of On Point’s websites offered government-related services, such as

  renewing drivers’ licenses and car registrations (the “Enforcement Action”). In 2021, the court

  in the Enforcement Action held On Point (and its principals) liable for deceptive business

  practices in violation of Section 5(a). The Receiver now claims that Defendants, including

  Ms. Melton, should have known that On Point’s business practices violated Section 5(a), and that

  they negligently failed to advise On Point to change those practices.

          As with her original complaint, the Receiver’s claims against Ms. Melton in the FAC are

  meritless, but they also suffer from a more fundamental flaw—the Receiver has failed to plead

  facts sufficient to establish personal jurisdiction over Ms. Melton. Specifically, under Florida’s

  “corporate shield” doctrine, the conduct of an employee acting on behalf of her employer cannot

  form the basis for personal jurisdiction over that employee in her individual capacity, unless the
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  employee (i) committed an act essential to the alleged tort while physically present in Florida; or

  (ii) committed an intentional tort.

         Although the Receiver’s FAC includes a handful of new allegations in an apparent

  attempt to evade the corporate shield doctrine, the core facts of this case remain the same, and

  they support the application of the doctrine here. The Receiver admits that Ms. Melton acted on

  her employer’s behalf at all relevant times—first as a partner at Baker, and then as a partner at

  Crowell. And the Receiver cannot allege that Ms. Melton committed any acts essential to the

  Receiver’s malpractice claim while physically present in Florida, much less that she committed

  an intentional tort. For those reasons, this Court cannot exercise in personam jurisdiction over

  Ms. Melton, and the claims against her should be dismissed.1

                                    FACTUAL BACKGROUND

         A. Ms. Melton’s Prior Representation of On Point

         The Receiver alleges that her claims relate to Ms. Melton’s representation of On Point

  and/or Burton Katz, On Point’s founder and chief executive officer, at various points between

  2014 and 2019. The Receiver claims that in 2014, Ms. Melton—who was then an attorney at

  Manatt Phelps & Phillips (“Manatt”)—represented Katz in connection with a lawsuit brought by

  the FTC against Katz’s former company, Acquinity Interactive, LLC (the “Acquinity Matter”).

  (FAC ¶¶ 64-65.) In the Acquinity Matter, the FTC alleged that Katz, together with other

  companies and individuals, violated Section 5(a) of the FTC Act, 15 U.S.C. § 45, by engaging in

  a deceptive scheme to place unauthorized charges on consumers’ mobile phone bills. (Id. ¶ 64.)

  Katz ultimately entered into a stipulated final judgment in the Acquinity Matter, which enjoined


  1
    Crowell has filed a separate motion to dismiss the Receiver’s Amended Complaint. The bases
  for Crowell’s motion to dismiss apply equally to the Receiver’s claims against Ms. Melton, and
  Ms. Melton joins Crowell’s arguments and incorporates each of them by reference here.

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  him from engaging in false or misleading practices in connection with the sale of “any product or

  service” in the future (the “2014 Permanent Injunction”). (Id. ¶¶ 66-67.)

         According to the Receiver, Katz began operating On Point’s websites in or around

  January 2017. (Id. ¶ 57.) The FAC alleges that Ms. Melton left Manatt and began working for

  Baker in March 2017. (Id. ¶ 68.) The Receiver further alleges that, during her time at Baker,

  Ms. Melton was physically present in Florida on a single occasion, when she provided “legal

  compliance training” at On Point’s offices only a few days after joining Baker in March 2017.

  (Id. ¶ 45.) The Receiver admits in the FAC, however, that this training occurred two months

  before On Point “retained” Baker in May 2017 to “conduct a compliance analysis and assess the

  legal risks of [On Point’s] business models and websites to determine whether they complied

  with applicable laws.” (Id. ¶ 71.) Indeed, the Receiver alleges elsewhere in her FAC that Ms.

  Melton’s relevant conduct did not begin until On Point retained Baker to perform this

  compliance analysis in May 2017. (See id. ¶ 33 (“At all material times between May 2017 and

  the present, Defendant Melton and several other associates and partners identified below who

  performed services for and provided legal counsel to the OPG Entities were acting within the

  course and scope of their duties . . . .”)). Moreover, the FAC does not allege to whom this

  “training” was provided or what it entailed, aside from vague references to unspecified “policies

  and procedures concerning misleading and deceptive advertising practices and Section 5 of the

  FTC Act.” (Id. ¶ 45.) The Receiver conclusory claims that this “training and advice is the

  subject of this legal malpractice lawsuit,” but fails to identify any legal advice that Ms. Melton

  actually gave at the training that was allegedly incorrect or deficient. (Id.)

         Other than this single occasion, all of the Receiver’s remaining allegations about

  Ms. Melton’s time at Baker concern alleged legal advice she provided from outside of Florida.



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  The Receiver, alleges, for example, that Ms. Melton emailed a “training deck” to an On Point

  officer located in Florida, mailed a letter to On Point’s offices in Florida, sent certain emails to

  On Point employees that concerned “a large-scale compliance review” of On Point’s business

  practices, and submitted a memorandum to On Point “that outlined the changes suggested to

  bring [certain] sites into compliance.” (Id. ¶ 44-48.) The Receiver does not allege that Ms.

  Melton undertook any of these activities while in Florida.

         The Receiver next claims that after “[Ms.] Melton moved from Baker to Crowell in

  2018,” she “continued to provide FTC Act compliance work,” as well as data collection, security

  and online privacy advice. (Id. ¶¶ 77, 82.) Once again, the Receiver cites only one occasion in

  which Ms. Melton was physically present in Florida during her time at Crowell, when she

  purportedly gave an “in-person legal training” to some On Point employees in March 2019. (Id.

  ¶ 53.) And, once again, the Receiver admits that this training occurred before On Point asked

  Crowell to conduct an “extensive compliance review” of On Point’s business model “in April

  and May 2019.” (Id. ¶¶ 77, 80-81.) The Receiver provides no information about the recipients

  or content of this training or its relevance to her claims, and instead relies on the conclusory

  allegation that Ms. Melton “fail[ed] to provide an appropriate compliance analysis as contained

  in the training deck.” (Id. ¶ 53.) The Receiver alleges nothing to connect this alleged “failure”

  to her claims or alleged damages.

         As with her allegations about Ms. Melton’s time at Baker, all of the Receiver’s remaining

  claims about Ms. Melton’s time at Crowell concern alleged legal advice she provided while

  outside of Florida. The Receiver alleges, for example, that Ms. Melton sent an engagement letter

  to On Point’s offices in Florida, submitted a memorandum “that outlined the scope of the

  continuous compliance review” allegedly undertaken by Ms. Melton and Crowell, sent an email



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  with “a chart containing Crowell’s review of” certain websites, and sent an additional email that

  concerned “third-party data sharing” in connection with those sites. (Id. ¶¶ 49-52.) As above,

  the Receiver does not allege that Ms. Melton undertook any of these activities while in Florida.

          B. The FTC’s Enforcement Action

          The FTC filed the Enforcement Action in December 2019, alleging that On Point and

  certain of its officers violated Section 5(a) of the FTC Act by misrepresenting to consumers that

  On Point’s websites were affiliated with certain state and local governments, and failing to

  provide consumers with services that were promised on those websites, such as renewals for

  drivers’ licenses and car registrations. (Id. ¶¶ 8, 57-58.) Shortly thereafter, in February 2020,

  the FTC also “filed a Motion for an Order to Show Cause Why Katz and [On Point] Should Not

  Be Held in Contempt” in the Acquinity Matter. (Id. ¶ 91.) In that motion, the FTC claimed that

  On Point “operated a deceptive business” in violation of the terms of the 2014 Permanent

  Injunction. (Id. ¶ 92.)

          In September 2021, the court determined that certain of On Point’s “websites violated

  Section 5(a) of the FTC Act.” (Id. ¶ 14.) In November 2021, following a bench trial, the court

  further held that, by virtue of these violations of Section 5(a), Katz, On Point, and other On Point

  officers were in contempt of the 2014 Permanent Injunction issued in the Acquinity Matter,

  which forbade Katz (and entities affiliated with him) from violating Section 5(a) in future

  business endeavors. (Id. ¶ 17.) On that basis, the court found Katz, On Point, and certain other

  officers “jointly and severally liable for compensatory contempt damages,” with a “final amount

  to be determined by” an ongoing claims process, but that is “not to exceed $102,768,235.47.”

  (Id. ¶¶ 17, 98.)




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          C. The Receiver’s Complaint

          On August 16, 2022, the Receiver filed this action against Crowell and Baker, as well as

   Ms. Melton individually. ECF No. 1. After Crowell, Baker, and Ms. Melton moved to dismiss

   her complaint, including on the grounds that the Court is precluded by the corporate shield

   doctrine from exercising personal jurisdiction over Ms. Melton, see infra, the Receiver filed the

   FAC. The FAC alleges that “[t]he Defendants knew or should have known that the [On Point]

   Entities’ business models and websites as then operating contravened federal consumer

   protection laws, including the FTC Act, and they negligently failed to warn the [On Point]

   Entities that they should make changes and/or modify their business practices to be in

   compliance with” those laws. (Id. ¶ 3.) The Receiver also claims that, “despite Melton and

   Baker’s actual knowledge of the 2014 Permanent Injunction and the restrictions it imposed . . .,

   at no time did Melton or Baker acknowledge or alert the [On Point] Entities” to the risk that they

   were in violation of the 2014 Permanent Injunction. (Id. ¶ 79.)

          In the FAC, the Receiver claims that Ms. Melton is subject to the personal jurisdiction of

   this court “pursuant to Section 48.193(1)(a)(2), Florida Statutes, which provides for jurisdiction

   over a nonresident who ‘commit[s] a tortious act within [Florida].’” (Id. ¶ 37.) She alleges that

   such “tortious act[s]” occurred because the “Defendants committed tortious acts of legal

   malpractice in Florida via interstate communications and personal visits to Florida.” (Id.) The

   Receiver also claims that “each of the Defendants received transfers of funds, either directly or

   indirectly, from the OPG Entities, which were operating, conducting, engaging in, and carrying

   on business operations or business ventures in, among other locations, the Southern District of

   Florida.” (Id. ¶ 38.) As described herein, the Receiver’s conclusory allegations concerning Ms.

   Melton’s limited physical presence in Florida appeared for the first time in the FAC.



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                                              ARGUMENT

  I.    FLORIDA’S CORPORATE SHIELD DOCTRINE PRECLUDES THIS COURT
        FROM EXERCISING PERSONAL JURISDICTION OVER MS. MELTON

          A. Legal Standard

             i.    Personal Jurisdiction Generally

          To establish personal jurisdiction over a nonresident defendant, a plaintiff must (i) allege

   sufficient facts to bring the defendant’s conduct within the ambit of Florida’s long-arm statute;

   and (ii) demonstrate that the defendant has sufficient minimum contacts with Florida to satisfy

   the Due Process Clause of the U.S. Constitution. See Waite v. All Acquisition Corp., 901 F.3d

   1307, 1312 (11th Cir. 2018). At the pleadings stage, a “‘plaintiff seeking to establish personal

   jurisdiction over a nonresident defendant bears the initial burden of alleging in the complaint

   sufficient facts to make out a prima facie case of jurisdiction.’” Sarmiento Lopez v. CMI Leisure

   Mgmt., Inc., No. 21-CV-22001, 2022 WL 681398, at *1 (S.D. Fla. Mar. 8, 2022) (quoting Louis

   Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1350 (11th Cir. 2013)).

          To make a prima facie case for personal jurisdiction based on a nonresident defendant’s

   minimum contacts with Florida,2 the plaintiff must plead enough facts “to withstand a motion for

   directed verdict.” In re: Zantac (Ranitidine) Prods. Liab. Litig., 546 F. Supp. 3d 1192, 1200–01

   (S.D. Fla. 2021). Although the plaintiff’s non-conclusory allegations are accepted as true,

   “[n]on-specific statements providing ‘labels and conclusions’ or ‘a formulaic recitation of the

   elements of [jurisdiction]’ are not accepted as true and are insufficient to establish a prima facie


   2
     The Receiver makes no claim that the Court has general jurisdiction over Ms. Melton, nor
   could she. Courts recognize “only [three] scenarios” where general jurisdiction over an
   individual defendant is constitutionally proper: (1) where the forum state “is the individual’s
   domicile”; (2) “where the individual consents to the forum’s jurisdiction”; and/or (3) “where the
   individual is present within the forum when served with process.” McCullough v. Royal
   Caribbean Cruises, Ltd., 268 F. Supp. 3d 1336, 1349–50 (S.D. Fla. 2017) (emphasis in original).
   None of those circumstances is present here.

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   case of jurisdiction.” Id.; see also Catalyst Pharms., Inc. v. Fullerton, 748 F. App’x 944, 946

   (11th Cir. 2018) (“To establish personal jurisdiction over a nonresident defendant, a plaintiff

   bears the initial burden of alleging in the complaint sufficient facts to make out a prima facie

   case of jurisdiction. Vague and conclusory allegations do not satisfy this burden.” (quotations

   omitted)).

            ii.    Corporate Shield Doctrine

          Claims brought against nonresident individuals acting on behalf of their employers are

   also subject to Florida’s “corporate shield” doctrine. Under Florida law, “personal jurisdiction

   cannot be exercised over a nonresident corporate employee sued individually for acts performed

   in a corporate capacity.” LaFreniere v. Craig-Myers, 264 So. 3d 232, 237 (Fla. 1st DCA 2018).

   The doctrine applies not only to corporations, but also to any other legally recognized entity.

   See, e.g., Sims v. O’Leary, 933 So. 2d 1214, 1215 (Fla. 4th DCA 2006) (applying doctrine to

   limited liability company); Renda v. Peoples Fed. Sav. & Loan Ass’n of Tarentym, P.A., 538

   So.2d 860, 863 (Fla. 1st DCA 1988) (same with respect to limited partnership). “The rationale

   of the doctrine is the notion that it is unfair to force an individual to defend a suit brought against

   [her] personally in a forum with which [her] only relevant contacts are acts performed not for

   [her] own benefit but for the benefit of [her] employers.” Fla. Power & Light Co. v. Lixi, Inc.,

   No. 11-80847-CIV, 2012 WL 12868740, at *6 (S.D. Fla. July 12, 2012) (quotations omitted).

          Florida courts recognize only two exceptions to the corporate shield doctrine. First, the

   doctrine does not preclude long-arm jurisdiction if the plaintiff alleges that “the individual

   employees committed negligent acts while personally present in Florida.” Kitroser v. Hurt, 85

   So. 3d 1084, 1086 (Fla. 2012); see also, e.g., Kline v. Byrd, No. 21-21125-CIV, 2021 WL

   4225774, at *4 (S.D. Fla. Sept. 16, 2021) (explaining that “this exception to the corporate shield

   doctrine . . . generally requires a defendant’s physical presence” in the state (quotations
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   omitted)). An employee’s mere physical presence in the state during the relevant period is not,

   however, enough to confer personal jurisdiction. Rather, to show that the employee “committed

   [the] negligent acts” at issue while in Florida, the plaintiff must plausibly allege that “a

   substantial aspect of the alleged tort” occurred while the employee was present in the state.

   Cable/Home Commc’n Corp. v. Network Prods., Inc., 902 F.2d 829, 857 (11th Cir. 1990). A

   plaintiff makes this showing “by establishing that [her] activities in Florida [were] essential to

   the success of the tort.” Id. (emphasis added); see also Canadian Steel Fabricators, Ltd. v.

   Garner, No. 11-20039-CV, 2011 WL 4424431, at *4 (S.D. Fla. Sept. 22, 2011) (“[F]or personal

   jurisdiction to attach under the ‘tortious activity’ provision of the Florida long arm statute, the

   Plaintiff must demonstrate that the nonresident Defendants ‘committed a substantial aspect of the

   alleged torts in Florida’ by establishing that the activities in Florida were ‘essential to the success

   of the tort.’” (citation omitted)).

           Second, if a substantial aspect of the alleged tort did not occur while the employee was

   physically present in Florida, then the corporate shield doctrine applies unless she committed

   “intentional tortious acts expressly aimed at the forum state.” See State, Office of Att’y Gen.,

   Dep’t of Legal Affairs v. Wyndham Int’l, Inc., 869 So.2d 592, 597 (Fla. 1st DCA 2004)

   (quotations omitted). Absent these two exceptions, the doctrine “precludes a Florida Court from

   exercising personal jurisdiction . . . under the Florida long-arm statute.” Lane v. XYZ Venture

   Partners, L.L.C., 322 F. App’x 675, 679 (11th Cir. 2009).

           As demonstrated below, the Receiver fails to allege that any conduct by Ms. Melton

   while physically present in Florida was a “substantial aspect” of the purported malpractice, such

   that it was “essential to the success of the tort.” Cable/Home Commc’n Corp., 902 F.2d at 857.




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   And the Receiver does not claim that Ms. Melton committed an intentional tort. The corporate

   shield doctrine therefore bars the assertion of personal jurisdiction over Ms. Melton.

          B. The Corporate Shield Doctrine Bars this Court from Exercising Personal
             Jurisdiction Over Ms. Melton

             i.   Ms. Melton Acted at All Relevant Times in Her Capacity as an Employee
                  of Baker and Crowell

          The Receiver does not and cannot allege any relevant conduct by Ms. Melton in her

   individual capacity. The corporate shield doctrine applies to any employee who acts “on behalf

   of” her employer, rather than “on [her] own.” Doe v. Thompson, 620 So. 2d 1004, 1006 (Fla.

   1993). Here, the Receiver concedes in the Complaint that “[a]t all material times between May

   2017 and the present, Defendant Melton and several other associates . . . were acting within the

   course and scope of their duties and responsibilities as partner and associate level attorneys

   employed by Baker and Crowell respectively and were acting with Baker and Crowell’s

   respective approval and consent.” (FAC ¶ 33). Indeed, all of the Receiver’s allegations

   regarding Ms. Melton’s conduct relate to the course of her work for On Point, and there is no

   dispute that such work was done on behalf of and for the benefit of first, Baker, and then,

   Crowell. (See, e.g., id. ¶¶ 73-75 (alleging that Ms. Melton sent letters to On Point “on Baker

   letterhead” and conducted a “legal and compliance review” for On Point along with other Baker

   attorneys); ¶¶ 77-80 (claiming that Ms. Melton “continued to provide FTC Act compliance

   work” after joining Crowell, including a “compliance monitoring program” and “compliance

   counseling”).) Accordingly, the FAC is clear that Ms. Melton acted “on behalf of” her employer

   within the meaning of the corporate shield doctrine. Doe, 620 So. 2d at 1006. On their face, the

   Receiver’s allegations regarding Ms. Melton preclude this Court from exercising jurisdiction

   over her. See Lane, 322 F. App’x at 679.



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            ii.    The Receiver Fails to Allege Any Relevant Conduct By Ms. Melton While
                   Physically Present in Florida

          The Receiver also fails to allege any plausible facts to support either of the two limited

   exceptions to Florida’s corporate shield doctrine. With regard to the location of Ms. Melton’s

   conduct, the FAC contains no allegations that Ms. Melton committed any acts essential to the

   Receiver’s malpractice claims while physically present in Florida. Instead, she conclusorily

   alleges that Ms. Melton was present in Florida for two unspecified “trainings” (that is, not the

   provision of specific legal advice) provided to unidentified individuals at On Point in March

   2017, during her time at Baker, and in March 2019, during her time at Crowell. Notably,

   however, the Receiver is silent as to the recipients and content of either training, nor does the

   Receiver plead that such “training” was a “substantial aspect” and “essential to the success” of

   the alleged malpractice.

          With respect to the training provided in March 2017, the Receiver admits that this

   training occurred two months before On Point “retained” Baker in May 2017 to “conduct a

   compliance analysis and assess the legal risks of [On Point’s] business models and websites to

   determine whether they complied with applicable laws.” (FAC ¶ 71.) Moreover, she provides

   no information whatsoever about the content of this training, other than to vaguely allege that it

   concerned “policies and procedures” that related to “misleading and deceptive advertising

   practices and Section 5 of the FTC Act.” (Id. ¶ 45.) The Receiver declares that this “training

   and advice is the subject of this legal malpractice lawsuit” (id.), but ignores that the training took

   place before On Point retained Baker to conduct the compliance analysis in question, and

   otherwise fails to identify any legal advice that Ms. Melton actually provided at the training, or

   explain how the “training” relates to the malpractice claims at issue. Likewise, with respect to

   the March 2019 training, the Receiver admits that this training occurred before On Point asked


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   Crowell to conduct an “extensive compliance review” of On Point’s business model “in April

   and May 2019.” (Id. ¶ 77, 80-81.) Additionally, the Receiver pleads no facts whatsoever about

   the content of Ms. Melton’s presentation. Instead, she concludes—without any supporting

   allegation—that Ms. Melton “fail[ed] to provide an appropriate compliance analysis as contained

   in the training deck.” (Id. ¶ 53.)

          These “non-specific statements” are facially insufficient to satisfy the Receiver’s “‘initial

   burden of alleging in the complaint sufficient facts to make out a prima facie case of

   jurisdiction.’” In re: Zantac, 546 F. Supp. 3d at 1201; Catalyst Pharms., 748 F. App’x at 946

   (quoting Louis Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1350 (11th Cir. 2013)); see

   also id. (“Vague and conclusory allegations do not satisfy this burden.”). The Receiver’s scant

   allegations establish, at best, that Ms. Melton provided generalized compliance training to

   someone at On Point while present in Florida on two occasions. But the Receiver fails to explain

   what, if any, aspects of that training constituted legal advice to On Point regarding identifiable

   issues on which On Point relied, nor why any such legal advice allegedly fell below the standard

   of care—much less that this advice was “essential to the success of the tort.” Cable/Home

   Commc’n Corp., 902 F.2d at 857 (quotations omitted).

          Courts routinely dismiss complaints for lack of personal jurisdiction where the plaintiff

   fails to plead specific, non-conclusory facts to demonstrate that the defendant’s in-state activities

   were “essential to” the plaintiff’s claims. For example, in Estate of Scutieri v. Chambers, the

   plaintiff accused the defendant of misappropriating the assets of a jointly owned company, and

   she further alleged that the defendant “flew to Florida a number of times to meet with [her] about

   the dispute” concerning her ownership interest in the business. 386 F. App’x 951, 954 n.6 (11th

   Cir. 2010). But the Eleventh Circuit held that these trips to Florida were insufficient to establish



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   personal jurisdiction because the plaintiff had failed to plead specific “information connecting

   [these] allegations to” her claims, and thus the defendant’s activities were not “essential to the

   success of the tort.” Id. Other courts have reached similar conclusions. See, e.g., Bernardele v.

   Bonorino, 608 F. Supp. 2d 1313, 1325 n.10 (S.D. Fla. 2009) (defendants’ attendance at meeting

   in Miami was not “essential to” plaintiff’s claims because defendants’ other alleged actions

   would have been “tortious regardless of whether” the meeting took place); L.O.T.I. Grp. Prods.

   v. Lund, 907 F. Supp. 1528, 1532 (S.D. Fla. 1995) (no personal jurisdiction in copyright action,

   even though defendant delivered the copyrighted videos while present in Florida, because

   “[s]uch isolated contact does not rise to the level of [being a] ‘substantial part’ of the tortious

   activities”). The Receiver’s claims against Ms. Melton should be dismissed for the same reason.

            iii.   The Receiver Fails to Allege that Ms. Melton Committed an Intentional
                   Tort

          The only other exception to the corporate shield doctrine is reserved for instances in

   which an employee commits an intentional tort in Florida. See LaFreniere, 264 So. 3d at 238.

   The Receiver’s only claim against Ms. Melton is legal malpractice, which sounds in negligence,

   and is not an intentional tort. Dingle v. Dellinger, 134 So. 3d 484, 487 (Fla. 5th DCA 2014).

   For this reason, the intentional tort exception to the corporate shield doctrine cannot apply. See

   Andrew v. Radiancy, Inc., No. 16-cv-1061, 2017 WL 2692840, at *5–6 (M.D. Fla. June 22,

   2017) (rejecting “Plaintiff’s attempt to equate her [negligence] claims to intentionally tortious

   conduct” for purposes of the corporate shield doctrine, and emphasizing that “[n]egligence”

   claims “are not intentional torts”).

          In sum, the Receiver concedes that Ms. Melton acted in her capacity as an employee of

   Baker or Crowell, and fails to allege any facts implicating either exception to the corporate shield

   doctrine. For those reasons, Florida law precludes this Court from exercising in personam


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   jurisdiction over Ms. Melton under Florida’s long-arm statute. See id. (dismissing claims for

   lack of personal jurisdiction where plaintiff failed to plead that defendant committed an

   intentional tort, and holding that “[s]uch circumstances are required before courts will exercise

   personal jurisdiction over [an individual employee] who commits a tort while physically outside

   of Florida.” (emphasis added)).

   II.   EXERCISING PERSONAL JURISDICTION OVER MS. MELTON WOULD
         VIOLATE DUE PROCESS

          Exercising personal jurisdiction over Ms. Melton under Florida’s long-arm statute would

   also violate Due Process under the U.S. Constitution. This is an independent basis for dismissal

   of the Receiver’s claims against Ms. Melton.

          The Fourteenth Amendment “require[s] that a non-resident defendant have certain

   minimum contacts with the forum, so that the exercise of jurisdiction does not offend traditional

   notions of fair play and substantial justice.” Consol. Dev. Corp. v. Sherritt, Inc., 216 F.3d 1286,

   1291 (11th Cir. 2000); see also Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 141 S. Ct.

   1017, 1024 (2021) (“[A] tribunal’s authority depends on the defendant’s having such ‘contacts’

   with the forum State that ‘the maintenance of the suit’ is ‘reasonable, in the context of our

   federal system of government,’ and ‘does not offend traditional notions of fair play and

   substantial justice.’” (citations omitted)). Courts may only exercise in personam jurisdiction

   over a nonresident defendant “where the defendant ‘purposefully avails itself of the privilege of

   conducting activities within the forum State, thus invoking the benefits and protections of its

   laws.’” Consol. Dev., 216 F.3d at 1291 (citation omitted). This requirement “assures that ‘the

   defendant’s conduct and connection with the forum State [is] such that he should reasonably

   anticipate being haled into court there.’” Id. (quoting World–Wide Volkswagen Corp. v.

   Woodson, 444 U.S. 286, 297 (1980)).


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          Here, the Receiver does not allege that Ms. Melton has an office in Florida, has a Florida

   bar license, provided any legal advice essential to the malpractice claims while present in

   Florida, or otherwise took any action calculated to avail herself of the benefits of Florida’s laws.

   Indeed, the Receiver alleges no facts that would have given Ms. Melton any basis to “reasonably

   anticipate being haled into court” in Florida. Id. (citation omitted); see also Thomas v. Brown,

   No. 11-62261-CIV, 2012 WL 987760, at *8 (S.D. Fla. Mar. 22, 2012), aff’d, 504 F. App’x 845

   (11th Cir. 2013) (finding attorneys could not have “reasonably anticipate[d] being ha[]led into

   court” where they had “no offices” in Florida and their “few contacts” with Florida included

   “telephone and electronic communications” sent from their offices in a different state). The

   Receiver’s claims against Ms. Melton should be dismissed for this additional reason.

                                             CONCLUSION

          For the foregoing reasons and those set forth in Crowell’s motion to dismiss filed

   simultaneously herewith (which arguments are incorporated herein by reference), Ms. Melton

   respectfully requests that the Court dismiss the Receiver’s claims against her for lack of personal

   jurisdiction, lack of subject matter jurisdiction (as set forth in Crowell’s motion to dismiss), and

   to strike the Receiver’s requests for attorneys’ fees and costs (as set forth in Crowell’s motion to

   dismiss).

                                      REQUEST FOR HEARING

          Pursuant to Local Rule 7.1(b)(2), Ms. Melton respectfully requests that the Court hold a

   hearing on this and Defendant Crowell’s contemporaneously filed motions to dismiss. A hearing

   will assist the Court in understanding the factual and legal deficiencies of the Receiver’s FAC

   and the complexities of the ongoing, underlying FTC actions. A hearing will also assist the

   Court in resolving the jurisdictional challenges raised in these motions. In light of the multiple


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   Defendants in this action, Ms. Melton estimates that one (1) hour would be appropriate for the

   Court to hear the movants’ arguments on both motions, and the Receiver’s opposition thereto.


                             LOCAL RULE 7.1(a)(3) CERTIFICATION

          Counsel for Ms. Melton certify that Alejandro H. Cruz, Ms. Melton’s counsel, and Tom

   Culmo, the Receiver’s counsel, conferred via email on January 9 and 10, 2023, in connection

   with this and Crowell’s contemporaneously filed motions to dismiss. Counsel for the Receiver

   confirmed that the Receiver will oppose these motions.


   Dated: January 10, 2023

                                           Respectfully submitted,



                                           By: /s/ Daniel S. Bitran

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                                  CERTIFICATE OF SERVICE


          I hereby certify that the foregoing document was filed and served via the CM/ECF filing

   system on January 10, 2023, upon:

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